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 5
     Attorney for Plaintiff Randall T. Fennell
 6
                              IN THE UNITED STATES DISTRICT COURT
 7                                          FOR THE
 8                                 NORTHERN MARIANA ISLANDS

 9   RANDALL T. FENNELL,                                 ) CASE NO. CV 09-00019
                                                         )
10                                Plaintiff,             )
                   vs.                                   )            NOTICE RE:
11                                                       )         LEAVE TO AMEND
     MATTHEW T. GREGORY, et al.                          )
12
                                                         )
                                  Defendants.            )
13
                                                         )
14
15          Without waiving the right to seek leave of court to amend Plaintiff’s complaint in the future

16   should the need arise, Plaintiff, by and through counsel, hereby gives notice to the Court and to the

17   parties that Plaintiff does not intend to file an amended complaint at this time notwithstanding the
18   Court’s granting of leave to do so in its September 28, 2009 Order.
19
20          DATED this 30th day of September, 2009.
21                                                         /s/ Mark B. Hanson
22                                                                      MARK B. HANSON
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27                                                         Attorney for Plaintiff
28
            Case 1:09-cv-00019 Document 35 Filed 09/30/09 Page 2 of 2




 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that the following attorneys were served with a copy of the foregoing through
 3   the Court’s electronic case filing system:
 4
                           Braddock J. Huesman, Assistant Attorney General
 5                         OFFICE OF THE ATTORNEY GENERAL
                           Commonwealth of the Northern Mariana Islands
 6                         Hon. Juan A. Sablan Memorial Bldg., Second Floor
                           Caller Box 10,007, Capitol Hill
 7                         Saipan, Mariana Islands 96950
 8                         Attorney for Defendants
 9
                           William M. Fitzgerald, Esq.
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13                         Kathleen V. Fisher, Esq.
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15                         Saipan, Mariana Islands 96950

16                         Attorneys for proposed intervenor Bank of Saipan, Inc.

17
18                     September 30, 2009                       /s/ Mark B. Hanson
            DATED: _____________________                        ___________________________
19                                                              MARK B. HANSON

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